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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
TAMAR GRUENBAUM; and
TAMAR GRUENBAUM DDS, LLC,
doing business as RIDGEWOOD VALLEY                 Case No. ______________
PEDIATRIC DENTISTRY,

                    Plaintiffs,
                                                   CORPORATE DISCLOSURE
      ~ versus ~
                                                   STATEMENT
SHANALEE ACKERMAN;
ACKERMAN PRACTICE MANAGEMENT,
LLC; JOSH LEVINE, CPA; and
JOSH LEVINE CPA P.C. doing business as
LEVINE & ASSOCIATES; and
EHCM LLC,

                    Defendants.



             This Corporate Disclosure Statement is filed on behalf of all Defendants

pursuant to Rule 7.1 of the Federal Rules of Civil Procedure.

             No Defendant has a parent corporation and no publicly traded corporation

currently owns 10% or more of the stock of any Defendant.



DATED:       OCTOBER 14, 2021

                                         RESPECTFULLY SUBMITTED,

                                  By:                                               .
                                         BARUCH S. GOTTESMAN, ESQ.
                                         New Jersey Bar I.D. No. 02222-2006
                                         185-12 Union Turnpike
                                         Fresh Meadows, NY 11366*
                                         Phone: (212) 401-6910
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                                       * Through the COVID emergency, we will
                                         accept service by e-mail when the e-mail is
                                         acknowledged as received.
                                         If mailing, please address to
                                         85-27 124th Street
                                         Kew Gardens, NY 11415




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